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                   FOR THE DISTRICT OF MARYLAND
                        BALTIMORE DIVISION

RONALD L. BRADLEY, JR.                              *

                                                    *
      Plaintiff,
                                                    *
v.
                                                    *Civil Action No.: 11-2710

F&C, LLC,                                           *
doing business as PONCABIRD PUB
                                                    *

and                                                 *

JOHN DOE 1 thru 10,                                 *

      Defendants.                                   *

*     *       *    *     *      *     *        *    *     *     *    *     *
       NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

      Plaintiff dismisses this action with prejudice.

Dated: November 2, 2011                   Respectfully Submitted,



                                               /s/ E. David Hoskins
                                          E. David Hoskins, Bar No. 06705
                                          LAW OFFICES OF E. DAVID HOSKINS, LLC
                                          Quadrangle Building at Cross Keys
                                          2 Hamill Road, Ste. 362
                                          Baltimore, Maryland 21210
                                          (410) 662-6500 (Tel.)
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                                          dhoskins@hoskinslaw.com




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 2nd day of November, 2011, a copy of the foregoing
was served via e-mail on the following:

                               Michael E. Blumenfeld, Esquire
                               Miles & Stockbridge, P.C.
                               10 Light Street
                               Baltimore, Maryland 21202


This 2nd day of November, 2011.                    /s/ E. David Hoskins




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